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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF ARKANSAS


MARTIN POT and
SECOND AMENDMENT FOUNDATION                                            PLAINTIFFS


v.                             No. 3:13-cv-3102-JLH


COLONEL STAN WITT, in his official
capacity as Director of the Arkansas
State Police                                                          DEFENDANT


          BRIEF SUPPORTING DEFENDANT’S MOTION TO DISMISS,
                         Or In The Alternative,
                     MOTION TO TRANSFER VENUE


        Defendant Colonel Stan Witt respectfully submits this brief supporting his

motion to dismiss the complaint pursuant to F. R. Civ. P. 12(b)(2-3), or in the

alternative, for the case to be transferred to a proper venue.

I.      INTRODUCTION

        Plaintiffs Martin Pot and Second Amendment Foundation filed this § 1983

action on November 4, 2013, alleging that Arkansas’ concealed handgun carry laws

violate the Constitution. According to the complaint, Pot is a permanent resident

alien who has resided in Arkansas since 1984. (Doc. No. 1 at 3). Second

Amendment Foundation claims to be a not-for-profit group organized in the State of

Washington, and representing its members, including Pot, who reside in the State

of Arkansas. Id. at 4. Plaintiffs name Colonel Stan Witt, in his official capacity as
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Director of the Arkansas State Police (“ASP”), as the only defendant in this case.

Id. at 4, 5.

       Plaintiffs filed suit challenging the constitutionality of Arkansas’ concealed

handgun carry laws. A.C.A. § 5-73-301, et seq. Specifically, they allege that a

citizenship provision, A.C.A. § 5-73-309(1), violates the Second Amendment and the

Fourteenth Amendment’s equal protection guarantees. Id. at 6, 7. Witt is being

sued on these claims because ASP is the agency tasked with administering the

States’ concealed handgun carry licensing.

       The complaint’s allegations concerning venue are factually and legally

deficient, and Witt moves this court to dismiss the case, or to transfer the case to

the Eastern District of Arkansas, where venue is proper.

II.    STANDARD OF REVIEW

       Under the U.S. Supreme Court’s most recent decisions, “a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim for relief that is

plausible on its face.’” Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 554, 570 (2007)). This pleading standard “demands

more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Id. at

1949 (quoting Twombly, 550 U.S. at 555). While pro se pleadings are liberally

construed, they must still allege facts supporting a plausible claim. See Stone v.

Henry, 364 F.3d 912, 914 (8th Cir. 2004).


       The Supreme Court’s plausibility test involves two steps. First, this Court

must determine which allegations in the complaint are conclusory and, therefore,
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should be ignored. The complaint must contain “more than labels and conclusions,

and a formulaic recitation of the elements of a cause of action will not do.” Twombly,

550 U.S. at 55. In other words, “[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Iqbal, 129 S. Ct. at

1949. Allegations that “are no more than conclusions” are “not entitled to the

assumption of truth.” Id. at 1950.


       Second, the non-conclusory allegations must be evaluated to determine

whether they contain sufficient “factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal,

129 S.Ct. at 1949. “Where a complaint pleads facts that are ‘merely consistent with’

a defendant’s liability, it ‘stops short of the line between possibility and plausibility

of ‘entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557).


III.   ARGUMENT

       Because venue is not proper in the Western District of Arkansas, this Court

should either dismiss this case, or transfer the case to the Eastern District of

Arkansas. Questions of venue generally turn to 28 U.S.C. § 1391. In the complaint,

Plaintiffs mistakenly state that “[v]enue is proper pursuant to 28 U.S.C. § 1391

because the Defendant executes, administers, and enforces. . . in this [the Western]

District. . . and the State laws were enacted in the State capital in this [the

Western] District.” (Doc. No. 1 at 3, ¶ 7). These statements are factually incorrect,

rendering Plaintiff’s assertion of proper venue legally deficient.
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       According to 28 U.S.C. § 1391(b)(1), proper venue is “a judicial district in

which any defendant resides. . ..” Venue may also be proper where substantial

parts of the events or omissions giving rise to the claim occurred. . ..” 28 U.S.C. §

1391(b)(2). Witt is the only defendant, and his office is located at ASP headquarters

in Little Rock, Arkansas. The State’s capital is in Little Rock, and the challenged

law was enacted in Little Rock, but Plaintiffs erroneously describe Little Rock as

being in the United States District Court’s Western District of Arkansas.

       Generally, on a motion to dismiss, the Court accepts all of Plaintiff’s factual

allegations as true. However, it need not blindly accept all conclusory statements

as true. As this Court is well aware, Little Rock, Arkansas, is actually located in

the United States District Court’s Eastern District of Arkansas. Pursuant to Rule

201(a)-(c)(2) of the Federal Rules of Evidence, this Court has the discretion to take

judicial notice of facts generally known within the Court’s jurisdiction and facts that

cannot reasonably be questioned. The geographic location of our State’s capital and

its situation within federal jurisdictional maps are safely within that discretion.

       Properly stated, the defendant resides within the Eastern District of

Arkansas, the law being challenged was enacted in the Eastern District of

Arkansas, the State capital is in the Eastern District of Arkansas, and the

administrative body responsible for enforcing the challenged law makes those

decisions in the Eastern District of Arkansas. Accordingly, venue is proper in the

Eastern District of Arkansas.1 This Honorable Court should, therefore, either


1Because venue is not proper in the Western District, Defendant asserts that this Court lacks
personal jurisdiction.
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dismiss this case, or administratively transfer the case pursuant to 28 U.S.C. §

1406(a).

IV.   CONCLUSION

      Because the defendant resides in the Eastern District of Arkansas and

because a substantial part of the events giving rise to this action occurred in the

Eastern District of Arkansas, the Court should dismiss this case or transfer it to the

proper venue.

                                                Respectfully submitted,

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                          CERTIFICATE OF SERVICE



       I hereby certify that on December 4, 2013, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, providing service to all
participants, including:


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                                              /s/ James O. Howe
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